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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

Configair, LLC,
Plaintiff,

v, Civil No. 3:17cv2026 (JBA)

Henry Kurz,
Defendant.

 

SCHEDULING ORDER

 

Pursuant to the colloquy with counsel on the record 5/29/19, the following is ordered:
1. Motion to Adjourn Depositions and Hearing on Dispositive Motions [Doc. # 100]
is granted

(a) Depositions of Kurz and HKC must be completed by July 12, 2019;

(b) Oral argument scheduled for June 10, 2019 is cancelled and pending
motions will be decided on the papers. The parties’ Joint Trial Memorandum will be

filed 21 days after ruling;

(c) Motion to Adjourn Settlement Conference is referred to Magistrate Judge
Spector.

2. Ruling on Motion to Withdraw Appearance is deferred to June 10, 2019 (see

Notice).

IT IS SO ORDERED.

/s/
Janet Bond Arterton, U.S.D.J.

 

Dated at New Haven, Connecticut this 29" day of May 2019.
